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8
9                   IN THE UNITED STATES DISTRICT COURT FOR THE
10                        EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,          )         1:03-CR-05199-OWW
                                        )
13                   Plaintiff,         )         FINAL ORDER OF
                                        )         FORFEITURE
14             v.                       )
                                        )
15   ANTONIO MANDUJANO ESPINO,          )
     ROSA MANDUJANO,                    )
16      aka Rosa Olivia Rocha Gastelum, )
        aka Rosa Rocha, and             )
17   ELISA ESPINO MARTINEZ              )
        aka Elisa Barrera, et al.,      )
18                                      )
                     Defendants.        )
19   ___________________________________)
20        WHEREAS, on May 3, 2004 and December 3, 2004, this Court
21   entered Preliminary Orders of Forfeiture pursuant to the provisions
22   of 18 U.S.C. § 982, based upon the plea agreements of defendants
23   Elisa Espino Martinez, Antonio Mandujano Espino and Rosa Mandujano
24   for mail fraud, a violation of 18 U.S.C. § 1341, and/or conspiracy
25   to launder money, a violation of 18 U.S.C. § 1956(h), forfeiting to
26   the United States the following property:
27             a.     Real property located in Fresno County at
                      8660 Ninth Street, San Joaquin, California,
28                    APN: 033-093-03, and more fully described

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1                    in Exhibit A attached hereto;
2              b.    Real property located in Fresno County at 8645 Ninth
                     Street, San Joaquin, California, APN: 033-091-25, and
3                    more fully described in Exhibit B attached hereto;
4              c.    Real property located in Madera County at 26898
                     Greentree Avenue, Madera, California, APN: 036-263-
5                    007, and more fully described in Exhibit C attached
                     hereto; and
6
               d.    Real property located in Fresno County at 22002 East
7                    Manning Avenue, San Joaquin, CA, APN: 033-132-15, and
                     more fully described in Exhibit D attached hereto.
8
9         AND WHEREAS, on May 26, June 2 and 9, 2004, the United States
10   published notification of the Court's May 3, 2004 Preliminary Order
11   of Forfeiture in the Fresno Business Journal (Fresno County), a
12   newspaper of general circulation located in the county in which the
13   subject properties listed in paragraphs a and b above are located.
14   AND WHEREAS, on December 23, 30, 2004 and January 6, 2005, the
15   United States published notification of the Court's December 3, 2004
16   Preliminary Order of Forfeiture in the Madera Daily Tribune (Madera
17   County) and on December 31, 2004 and January 7, and 14, 2005, in the
18   Fresno Business Journal(Fresno County) newspapers of general
19   circulation located in the counties in which the subject properties
20   listed in paragraphs c and d above are located. Said published
21   notice advised all third parties of their right to petition the
22   court within thirty (30) days of the publication date for a hearing
23   to adjudicate the validity of their alleged legal interest in the
24   forfeited property;
25        AND WHEREAS, the United States and Washington Mutual Bank, F.A.
26   have entered into a stipulation for expedited settlement approved by
27   the Court on November 18, 2004, regarding the real property located
28   at 8660 Ninth Street, San Joaquin, California, APN: 033-093-03 and

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1    more fully described in Exhibit A attached hereto.
2         AND WHEREAS, the Court has been advised that no other third
3    party has filed a claim to the subject properties, and the time for
4    any person or entity to file a claim has expired.
5         Accordingly, it is hereby ORDERED and ADJUDGED:
6         1.    A Final Order of Forfeiture shall be entered forfeiting to
7    the United States of America all right, title, and interest in the
8    above-listed real properties pursuant to 18 U.S.C. § 982, to be
9    disposed of according to law, including all right, title, and
10   interest of Elisa Espino Martinez, Antonio Mandujano Espino and Rosa
11   Mandujano.
12        2.    All right, title, and interest in the above-described
13   properties shall vest solely in the name of the United States of
14   America.
15        3.    The United States shall pay, upon entry of this Final Order
16   of Forfeiture and the sale of the real property, Washington Mutual
17   Bank, F.A. from the proceeds of sale, after payment of outstanding
18   taxes and expenses incurred by the U.S. Marshals Service in
19   connection with its custody and sale of the real property located at
20   8660 Ninth Street, San Joaquin, California, APN: 033-093-03, the
21   following:
22               a.   All unpaid principal due to the Petitioner under
23                    the promissory note which was secured by a deed
24                    of trust recorded in the official records of
25                    Fresno County, recording no. 2003-0046940, on
26                    February 28, 2003, that is as of July 1, 2004,
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                                 1
1                    $69,280.00 ; and
2               b.   All unpaid interest at the contractual base rate of
3                    6.25 percent per annum (not the default rate) under
4                    the above promissory note and deed of trust,
5                    foreclosure fees and costs of $1,127.16, yard
6                    maintenance/debris removal expenses of $470.00, lock
7                    and secure expenses of $40.00, and other expenses
8                    such as property inspection fees of $106.00, for a
9                    total amount of $8,401.48 as of July 1, 2004.
10              c.   A Casualty Insurance premium in the amount of $770.00
11                   which went into effect on April 8, 2004.
12        4.   The payment to Petitioner Washington Mutual Bank, F.A.
13   shall be in full settlement and satisfaction of all claims by
14   Washington Mutual Bank, F.A. to the real property posted by the
15   United States on or about August 10, 2004, and of all claims arising
16   from and relating to the seizure, detention, and forfeiture of the
17   real property
18        5.   The United States shall maintain custody of and control
19   over the subject real properties until they are disposed of
20   according to law.
21        SO ORDERED THIS 21st       day of     June           , 2005.
22
23                                     /s/ OLIVER W. WANGER
24
                                       OLIVER W. WANGER
25                                     United States District Judge
26
          1 Washington Mutual Bank acquired its interest in the
27   Promissory Note and First Deed of Trust in a secondary mortgage
     market transaction by purchasing the Note from the original holder,
28   Courtyard.

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1                        CERTIFICATE OF REASONABLE CAUSE
2         Pursuant to the plea agreements of defendants Elisa Espino
3    Martinez, Antonio Mandujano Espino and Rosa Mandujano, the Court
4    enters this Certificate of Reasonable Cause pursuant to 28 U.S.C. §
5    2465, that there was reasonable cause for posting/seizure of the
6    above-described real properties.
7
8    DATED: June 21, 2005               /s/ OLIVER W. WANGER
                                       OLIVER W. WANGER
9                                      United States District Judge
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1                                Exhibit A
2                       PROPERTY DESCRIPTION
            (8660 Ninth Street, San Joaquin, California)
3
4    Lots 9 and 10 in Block 11, City of San Joaquin, County of
     Fresno, State of California, according to the map thereof
5    recorded in Book 7 pages 83, 84 and 85 of Plats, Fresno
     County Records.
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7    APN: 033-093-03
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1                                Exhibit B
2                       PROPERTY DESCRIPTION
            (8645 Ninth Street, San Joaquin, California)
3
4    Lots 23 and 24 in Block 10, of the Townsite of San Joaquin
     (now city) of San Joaquin, according to the map thereof
5    recorded in Book 7, Pages 83, 84 and 85 of Plats, Fresno
     County Records.
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7    APN: 033-091-25
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1                                     Exhibit C
2                            PROPERTY DESCRIPTION
                 (26898 Greentree Avenue, Madera, California)
3
4    Lot 44 of Madera Country Club Estates Subdivision No. 2, according
     to the map entitled, "Map of Madera Country Club Estates Subdivision
5    No. 2, Tract 96" filed and recorded in the office of the County
     Recorder of the County of Madera, State of California, July 26,
6    1961, in Vol. 8 of Maps, at Pages 126 to 131, inclusive.
7    Excepting therefrom an undivided 1/2 interest in all oil, gas and
     other hydrocarbon substances in and under said land; as reserved in
8    Deed dated December 12, 1955 from J.M. Avellar and Mary F. Avellar,
     his wife and Arthur J. Avellar and Marjorie Avellar, his wife,
9    recorded January 6, 1956, in Vol. 657 of Official Records, page 318,
     Madera County records, but without the right to enter upon the
10   surface of said property and without the right to use any portion of
     said property lying less than 500 feet below the surface thereof,
11   said rights having been terminated by the Deed from Arthur J.
     Avellar, et ux, et al, dated November 25, 1957 and recorded April
12   15, 1958 in Vol. 716 of Official Records, page 340, Madera County
     Records.
13
     Also excepting therefrom an undivided 1/4 interest in and to all
14   oil, gas and minerals, without however, the right to surface entry
     as reserved by Rusco Industries, Inc., an Ohio corporation in Deed
15   dated August 7, 1962 and recorded September 25, 1962 in Vol. 841 of
     Official Records, page 84, Madera County Records.
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     APN: 036-263-007
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1                                Exhibit D
2                       PROPERTY DESCRIPTION
        (22002 East Manning Avenue, San Joaquin, California)
3
4    LOTS 19 AND 20 IN BLOCK 82 OF THE TOWNSITE (NOW CITY) OF
     SAN JOAQUIN, COUNTY OF FRESNO, STATE OF CALIFORNIA,
5    ACCORDING TO THE MAP THEREOF RECORDED JUNE 19, 1915 IN
     BOOK 7 PAGE 83 THROUGH 85 INCLUSIVE OF PLATS, FRESNO
6    COUNTY RECORDS.
7    APN: 033-132-15
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